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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 RACHAEL ROSE,                                     )   CASE NO.      1:24 CV 2049
                                                   )
        Plaintiff,                                )
                                                  )
 v.                                               )    JUDGE DONALD C. NUGENT
                                                  )
 ABBOTT LABORATORIES, INC. and                    )
 COLLEEN LEWIS,                                   )
                                                  )    MEMORANDUM OPINION
        Defendants.                               )    AND ORDER


        This matter is before the Court on the Motion to Dismiss or, in the Alternative, to

 Transfer Venue filed by Defendants, Abbott Laboratories, Inc. and Colleen Lewis. (Docket #8.)

 I.     Factual and Procedural Background.

        On October 23, 2024, Plaintiff, Rachael Rose, filed her Complaint against Defendants,

 Abbott Laboratories Inc. and Colleen Lewis, asserting claims for hostile work environment

 based on sex and gender in violation of Ohio Rev. Code § 4112.02(A); wrongful termination

 based on sex and gender in violation of Ohio Rev. Code § 4112.02(A); and, aiding and abetting

 discrimination in violation of Ohio Rev. Code § 4112.02(J). On November 22, 2024,

 Defendants filed a Notice of Removal with this Court.

        On December 30, 2024, Defendants filed their Motion to Dismiss or, in the Alternative,

 to Transfer Venue. (Docket #8.) Defendants argue that, pursuant to the terms of the
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 Employment Agreement signed by Ms. Rose when she was hired, the exclusive venue for

 disputes arising from Ms. Rose’s employment with Abbott is in Illinois, in either the United

 States District Court for the Northern District of Illinois, or the Lake County, Illinois State Court.

        Ms. Rose filed her Brief in Opposition on January 10, 2025. (Docket #13.) Ms. Rose

 does not dispute that the Employment Agreement includes an enforceable and lawful forum

 selection clause. However, Ms. Rose argues that the Employment Agreement is a non-

 competition and non-disclosure agreement that “expressly covers only the exchange of Abbott’s

 confidential business information to Rose, the limitations on Rose’s subsequent use of said

 confidential business information, and the imposition of a 12-month non-competition period

 should Rose separate from Abbott – not where Rose may or may not litigate claims for

 workplace discrimination.” (Docket #13 at p.2.) Ms. Rose argues “that her claims for

 workplace discrimination fall plainly outside the scope of the forum-selection clause because

 they are not ‘arising out of,’ ‘relating to,’ or ‘transactions contemplated’ under the confidentiality

 provisions” of the Employment Agreement. (Id. at p. 6.) Ms. Rose also argues that Defendants

 have failed to demonstrate Illinois is a more convenient forum for all witnesses and parties and,

 therefore, that the Court should deny the requested transfer. (Id. at p. 9.)

        On January 24, 2025, Defendants filed a Reply Brief. (Docket #17.) Defendants argue

 that the Employment Agreement is not limited to the topics of confidential business information

 and non-competition, but “covers core aspects of Plaintiff’s employment – for example, her

 status as an at-will employee and her obligation to comply with ‘any and all’ Abbott policies, as

 well as Abbott’s Code of Business Conduct.” (Docket #17 at p. 1.) Defendants note Ms. Rose

 signed an electronic version of the Employee Agreement, which included a hyperlink to the

 Abbott Code of Business Conduct. (Id. at p.3.) Defendants ask the Court to enforce the forum

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 selection clause and dismiss the case or, alternatively, transfer the case to the Northern District

 of Illinois. Further, Defendants argue that any discussion regarding the convenience of the

 Parties is irrelevant given the fact that the forum selection clause set forth in the Employment

 Agreement is, as admitted by Ms. Rose, valid and enforceable, and that Ms. Rose has failed to

 demonstrate that dismissal or transfer would be contrary to public policy interests.

 II.    Discussion.

        Absent extraordinary circumstances, a plaintiff's choice of forum, and the convenience of

 the parties, are not to be considered when there exists a valid forum-selection clause. Atl.

 Marine Const. Co. v. U.S. Dist. Court for the W. Dist. Of Texas, 571 U.S. 49, 52 (2013). When a

 forum-selection clause exists between the parties, it should be given “controlling weight in all

 but the most exceptional cases.” Id.

        Paragraphs 15 and 16 of the Parties’ Employment Agreement provide as follows:

        15.     Choice of Law. This Agreement shall be construed, and its enforceability
                and the relationship of the parties shall be determined, in all respects
                under the laws of Illinois, without giving effect to conflict of laws.


        16.     Jurisdiction/Venue.


                (a)     The parties agree to the exclusive jurisdiction of the state and
                        federal courts in Illinois, in any action or proceeding arising out of
                        or relating to this Agreement or the transactions contemplated
                        hereby, and further irrevocably agree that all claims in any such
                        action or proceeding shall be heard and determined in Lake
                        County, Illinois state court or the Northern District of Illinois
                        federal court. Both parties waive any objection to the laying of
                        venue of any such action or proceeding in any of the Lake County,
                        Illinois state courts or Northern District of Illinois federal courts,
                        as well as any claim that a party may have that any such action or
                        proceeding has been brought in an inconvenient forum.
                        EMPLOYEE stipulates and consents to Illinois courts’ personal
                        jurisdiction and waives the right to object to an Illinois court’s
                        jurisdiction.

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 (Docket #8-4 at p. 8.)

        As set forth above, Ms. Rose does not argue that the forum selection clause set forth in

 the Employee Agreement is unreasonable, unenforceable or contrary to law, but instead that the

 scope of the Employment Agreement is limited to the topics of non-competition and the non-

 disclosure of confidential information and does not cover all aspects of her employment or her

 claims in this case. The Court does not agree.

        While the Employment Agreement includes non-competition provisions and extensive

 language regarding the development, use, protection and ownership of Abbott’s Confidential

 Information, the Employment Agreement also includes provisions regarding Ms. Rose’s duty to

 comply with all Abbott policies and Abbott’s Code of Business Conduct (for which a hyperlink

 is included within the Employment Agreement); Ms. Rose’s use of electronic media and systems

 and Abbott’s monitoring thereof; Ms. Rose’s duty to return Abbott property in the event her

 employment was terminated; and, Ms. Rose’s at-will employee status. The mere fact that the

 provisions regarding confidential information and non-competition are longer and more detailed

 does not render the remaining sections unenforceable or void, nor does the organization or

 format of the Employment Agreement render certain provisions more important than others.

        Ms. Rose claims she was discriminated against and unlawfully terminated. Abbott

 asserts in response that Ms. Rose was terminated for violating Abbott’s policies and Code of

 Business Conduct. The claims set forth in Ms. Rose’s Complaint arise out of or relate to the

 Employment Agreement and the Parties are bound by the Jurisdiction/Venue provision agreed to

 therein.



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         In addition to the foregoing, Ms. Rose, the only party/witness who resides in Ohio,

 asserts that the Northern District of Ohio is a more convenient forum and, therefore that transfer

 should be denied. However, given the existence of an admittedly valid forum selection clause,

 whether or not Ohio is a more convenient forum for Ms. Rose is not relevant. Rather, Ms. Rose

 bears the burden of showing that public interest factors weigh heavily against transfer. Lakeside

 Surfaces, Inc. v. Cambria Co., 16 F.4th 209, 215 (6th Cir. Mich. 2021). Ms. Rose agreed to the

 exclusive jurisdiction of the Illinois Federal and State Courts and offers nothing to suggest that

 there are public interest factors in this case which would warrant the consideration of a departure

 from the Parties’ mutually selected forum.

 III.    Conclusion.

         For the foregoing reasons, Defendants’ Motion to Dismiss or, in the Alternative, to

 Transfer Venue (Docket #8) is hereby GRANTED.

         This case is hereby transferred to the United States District Court for the Northern

 District of Illinois.

         IT IS SO ORDERED.

                                               s/Donald C. Nugent
                                               DONALD C. NUGENT
                                               United States District Judge


         DATED: February 14, 2025




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